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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                         ROME DIVISION

BARBARA TEASLEY and                )
PATSY McFALLS,                     )
                                   )
      Plaintiffs,                  )
                                   )             Civil Action No:
v.                                 )             4:22-cv-00049-JPB
                                   )
TOYOTA MOTOR CORPORATION;          )
TOYOTA MOTOR NORTH AMERICA, )
INC.; TOYOTA MOTOR ENGINEERING )
& MANUFACTURING NORTH              )
AMERICA, INC; TOYOTA MOTOR         )
SALES, USA, INC.; ZF ACTIVE SAFETY )
AND ELECTRONICS US, LLC; ZF        )
PASSIVE SAFETY SYSTEMS USA, INC.; )
TRW AUTOMOTIVE, INC.; ZF TRW       )
AUTOMOTIVE HOLDINGS, CORP.; ZF )
NORTH AMERICA, INC.; ZF HOLDINGS,)
B.V.; ZF FRIEDRICHSHAFEN, A.G.;    )
STMICROELECTRONICS N.V.;           )
STMICROELECTRONICS                 )
INTERNATIONAL, N.V.; and           )
STMICROELECTRONICS, INC.           )
                                   )
      Defendants.                  )

   TOYOTA MOTOR ENGINEERING & MANUFACTURING NORTH
         AMERICA, INC.’S UNOPPOSED MOTION FOR
       EXTENSION OF TIME TO ANSWER OR OTHERWISE
           RESPOND TO PLAINTIFFS’ COMPLAINT

      Defendant Toyota Motor Engineering & Manufacturing North America, Inc.

(“TEMA”), by and through its undersigned counsel, respectfully moves this Court
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for an extension of time of thirty (30) days to answer, move against, or otherwise

respond to Plaintiffs’ Complaint pursuant to Federal Rule of Civil Procedure 6(b).

the filing of this motion is for the limited purpose of seeking the extension and not

for the purposes of appearing. Plaintiffs do not oppose this motion.

      In support of this motion, TEMA shows the Court as follows:

         1. Plaintiffs commenced this action in the Northern District of Georgia
            on February 23, 2022.

         2. TEMA was served with the Summons and Complaint on April 22,
            2022. Accordingly, the time within which TEMA must answer or
            otherwise respond to Plaintiffs’ Complaint has not yet expired.

         3. Counsel for TEMA requested, and counsel for Plaintiffs agreed, that
            TEMA may have up to and including June 13, 2022 to file an answer
            or otherwise respond to Plaintiffs’ Complaint, subject to the Court’s
            approval.

         4. An extension of time is necessary for TEMA’s counsel to investigate
            the facts of this complex product liability case, and to properly
            respond to the factual allegations in Plaintiffs’ Complaint.

         5. This request is made in good faith and not for the purpose of delay.

         6. The deadline for TEMA to answer or otherwise respond to Plaintiffs’
            Complaint has not been previously extended.

      WHEREFORE, for good cause shown and after consultation with Plaintiffs’

counsel, TEMA respectfully requests that the Court enter an Order granting a thirty

(30) day extension of time within which TEMA may answer, move against, or



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otherwise respond to Plaintiffs’ Complaint, up to and including June 13, 2022. A

proposed Order is attached.

      Respectfully submitted, this 11th day of May, 2022.

                                      KING & SPALDING LLP

                                      /s/ Harold E. Franklin, Jr.
                                      Harold E. Franklin, Jr.
                                      Georgia State Bar No. 273416
                                      Anneke J. Shepard
                                      Georgia State Bar No. 545247

1180 Peachtree Street, N.E.            ATTORNEYS FOR DEFENDANT
Atlanta, Georgia 30309                 TOYOTA MOTOR ENGINEERING &
TEL 404/572-4600                       MANUFACTURING NORTH
FAX 404/572-5100                       AMERICA, INC.

                      CERTIFICATE OF COMPLIANCE

      Pursuant to Rule 7.1(D) of the Local Rules of the Northern District of

Georgia, the undersigned hereby certifies that the foregoing was prepared in a font

and point selection approved by this Court and authorized by Local Rule 5.1(B).

      This 11th day of May, 2022.



                                             /s/ Harold E. Franklin, Jr.
                                             Harold E. Franklin, Jr.
                                             Georgia Bar No. 273416




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                          CERTIFICATE OF SERVICE

      I hereby certify that on this date, I electronically filed the foregoing document
with the Clerk of Court using the CM/ECF system which will automatically send
email notification of such filing to any attorneys of record.

      I hereby certify that on this date I mailed by United States Postal Service the
foregoing document to the following non-CM/ECF participants:

      None.

      This 11th day of May, 2022.


                                        /s/ Harold E. Franklin, Jr.
                                        Harold E. Franklin, Jr.
                                        Georgia Bar No. 273416
                                        King & Spalding LLP
                                        1180 Peachtree Street
                                        Atlanta, Georgia 30309
                                        TEL 404/572-4600
                                        FAX 404/572-5100




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STMICROELECTRONICS N.V.;           )
STMICROELECTRONICS                 )
INTERNATIONAL, N.V.; and           )
STMICROELECTRONICS, INC.           )
                                   )
      Defendants.                  )

[PROPOSED] ORDER GRANTING TOYOTA MOTOR ENGINEERING &
 MANUFACTURING NORTH AMERICA, INC.’S UNOPPOSED MOTION
 FOR EXTENSION OF TIME TO ANSWER OR OTHERWISE RESPOND
                TO PLAINTIFFS’ COMPLAINT




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      Upon consideration of Toyota Motor Engineering & Manufacturing North

America, Inc.’s (“TEMA”) unopposed motion, and for good cause shown, it is

hereby ORDERED, ADJUDGED and DECREED that:

      (1)   TEMA’s motion for an extension of time is GRANTED.

      (2)   TEMA has an additional thirty (30) days, up to and including June 13,
            2022, to answer, move against, or otherwise respond to Plaintiffs’
            Complaint.

      IT IS SO ORDERED this          day of May, 2022.


                                     HON. J.P. BOULEE
                                     UNITED STATES DISTRICT COURT
                                     NORTHERN DISTRICT OF GEORGIA




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